EXHIBIT 7
                                                                                                     USOO612208.6A
United States Patent (19)                                                          11 Patent Number:                                                        6,122,086
Djupsjöbacka                                                                       (45) Date of Patent:                                              Sep.19, 2000
54) COMPENSATION OF DISPERSION                                                     5,078,464 1/1992 Islam ....................................... 385/122
                                                                                   5,126,998      6/1992 Stem, Jr. .                                                         ... 375/46
75      Inventor: Anders Djupsjöbacka, Solna, Sweden                               5,373,382 12/1994 Pirio et al. .                                                              359/161
                                                                                   5,491,576 2/1996 Bergano ......                                                          ... 359/156
73      Assignee:      Telefonaktiebolaget LM Ericsson,                            S.             yo           this - - - - - - - - - - - - - - - - - - - - - - - - - - - - - SS
                                                                                    2- 1 - 2                 Cyle el al. . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Stockholm, Sweden                                           5.940,196 8/1999 Piehler et al. ..                           359/133
                                                                                   5,970,185 10/1999 Baker et al. ................................ 385/3
21 Appl. No.: 09/038,478                                                                       FOREIGN PATENT DOCUMENTS
22 Filed:     Feb. 5, 1998                                                    O 312 190 A1 4/1989 European Pat. Off..
                  Related U.S. Application Data                                    2 205 172 11/1988 United Kingdom
                                                                              Primary Examiner Leslie Pascal
63 Continuation of application No. PCT/SE96/00986, Aug. 2,                    Attorney, Agent, or Firm Nixon & Vanderhye
        1996.
30              Foreign Application Priority Data                             57                          ABSTRACT
 Aug. 16, 1995 SE Sweden .................................. ososs             Inthe transmission  of optical signals in a dispersive medium,
                                                                                     Signals are transmitted Simultaneously in two modes in
(51) Int. Cl. ............................................... H04B 10/04      an optical fiber (15), which are orthogonal to each other, one
52 U.S. Cl. ............................................. 359/181; 359/183    of the Signals being a non-chirped amplitude modulated
58 Field of Search ..................................... 359/161, 158,        signal modulated by an amplitude modulator (3), and the
                           359/180, 181, 183; 375/269; 332/145                other signal is a phase modulated Signal modulated by a
                                                                              phase modulator (5). The received signal is formed by the
56)                       References Cited                                    sum of the amplitude modulated contributions of the two
                                                                              Signals. In an optical fiber System, two orthogonal modes of
                  U.S. PATENT DOCUMENTS                                       polarization in the same fiber can be chosen. In this manner
      4,192,970 3/1980 Kahn ....................................... 455,307   it will be possible to transmit high bit rates and primarily
      4,750,833     6/1988 Jones .....                        ... 356/93.1    over long distances.
      4,793,676 12/1988 Risk ......                            350/96.13
      4,893,352 1/1990 Welford .................................. 455/610                        26 Claims, 1 Drawing Sheet
U.S. Patent          Sep.19, 2000            6,122,086




       Fig. 2a                      Fig.2b

          Na 41         33N


              N-37
                            k"       S39
       Fig. 3a                Fig. 3b
                                                            6,122,086
                               1                                                                      2
          COMPENSATION OF DISPERSION                                     applying appropriate Signal pulses to a non-linear shift or
                                                                         "chirp' element whose output is Supplied to a dispersive
   This appln is a cont of PCT/SE96/00986 filed Aug. 2,                  element capable of Supporting Soliton propagation. Two
1996.                                                                    orthogonally polarized pulses are Supplied to the combina
                  TECHNICAL FIELD
                                                                         tion of the moderately birefringent fibre acting as the non
                                                                         linear chirp element.
  The invention relates to a method and devices for trans                   With the technique offered according to the prior art,
mission of optical signals in dispersive medias, e.g. optical            performance at STM-16 level (Synchronous Transfer Mode
fibres.                                                                  level 16, i.e. about 2.5 Gbit/s) is a repeater distance of 60
                         PRIOR ART                                       kilometers for direct modulating lasers and in the case when
                                                                         prechirped external modulators are used, performance is
  In transmission of data in a dispersive medium, Symbols                about 75 kilometers at STM-64 level (Synchronous Transfer
which are transmitted will be distorted at high data rates.              Mode level 64, i.e. about 10 Gbit/s).
That is, the transmitted symbol will be effected by the                    One of the reasons for these limits is, as mentioned above,
medium through which it is transmitted, in Such a manner            15
                                                                         the pulse dispersion taking place in the fibre.
that its duration in time will be extended. This results in that,           In order to improve the performance by means of different
at high data rates, a transmitted Symbol is effected both by             methods, which reduce the distortion imposed on the Signals
previously and Subsequently transmitted Symbols. This                    transmitted in fibre optical networks, primarily two main
inter-Symbol interference contributes to that the Signal can             categories are noticed.
not be transmitted as long distances as would be liked
without that the risk for faulty decisions in the receiver                  1. Prechirping of the transmitter, either by frequency
exceeds a tolerated, predetermined value.                                modulating the transmitting laser and then amplitude modu
   Thus, there is a need to try to minimize the distortion               late an external modulator, or by Simultaneously frequency
which is imposed on the Signal when it is transmitted in a               and amplitude modulate an external modulator.
dispersive media in order to extend the distance which the          25      2. Creation of an almost dispersion free fibre optic line by
Signal can be transmitted, or the distance at which the Signal           means of introducing dispersion compensating fibres along
must be repeated by means of repeaters.                                  the Signal path.
   It is for this purpose known to transmit Signals in two in               Working Systems according to the above Suggested meth
relation to each other orthogonal modes, in particular                   ods have been tested in laboratories, but no System is yet
orthogonal polarization modes.                                           commercially available. However, these ways are today the
   The European Patent Application EP-A1 2 312 190 dis                   ways which appear most passable in order to improve the
closes an electro-optical converter for conversion of optical            performance.
waves from one polarization mode to an orthogonal polar                              SUMMARY OF THE INVENTION
ization mode, e.g. a TE-TM-converter. According to one              35
aspect an apparatus controls the phase of an amplitude                      It is an object of the present invention to improve per
modulated input signal carried by a polarized optical wave,              formance in transmission of data long distances in a disper
the optical wave being split into two orthogonally polarized             Sive medium, in particular a fibre optic cable.
components. Between the components a relative delay is                      It is a further object of the present invention to provide a
introduced in correspondence to a shift in the phase of the         40
                                                                         method and devices by means of which it is possible to
amplitude modulated Signal.                                              transmit higher bit rates, in particular in a fibre optic line,
   The British Patent Application GB-A2 202 172 is related               and over longer distances than is presently possible accord
to the control of the phase in an amplitude modulated optical            ing to the State of the art.
signal. An electro optical TE-TM converter splits the ampli                 These objects are obtained with the invention, the char
tude modulated plane polarized light into orthogonal-plane          45   acteristics of which are set out in the appended claims.
polarized portions in a controlled amplitude ratio. A bire                  In general a Signal, which is to be transmitted in a
fringent wave guide introduces a relative delay between the              dispersive medium, is predistorted in order to hereby com
two portions equal to a quarter cycle of the amplitude                   pensate for the distortion which will be imposed on the
modulation period. A light detector produces a signal, which             Signal when it propagates through the dispersive medium.
is a vector combination of the Signals carried by the two           50      The predistortion is obtained by the fact that the signal,
portions, phase shifted in accordance with Said amplitude                which is to be transmitted, is amplitude modulated without
ratio.                                                                   being chirped, and at the Same time a predistortion is created
   The Patent U.S. Pat. No. 4,750,833 describes measuring                by the fact that the transmitted Signal also is phase modu
of transmission dispersion of a Single mode fibre, which is              lated. These two signals, i.e. an amplitude modulated Signal
to be tested. Different forms of dispersion can be measured,        55   and a corresponding phase modulated Signal, are thereafter
Such as chromatic dispersion and polarization dispersion.                transmitted in different modes, which have equally large
   The Patent U.S. Pat. No. 4,793,676 shows a fibre optic,               propagation Velocities. The phase modulated Signal is used
acoustic-optic amplitude modulator, which couples light                  by the receiver for compensating the distortion which has
between two orthogonal polarization modes.                               been imposed on the amplitude modulated Signal during the
   The Patent U.S. Pat. No. 4,893,352 describes an optical          60   transmission in the medium. The compensation is obtained
transmitter for modulated Signals. Orthogonal optical signals            by adding the amplitude modulated contribution from the
on a common wave guide are obtained by Splitting a light                 phase modulated Signal to the amplitude modulated contri
Signal i a split wave guide, modulating at least one of the              bution of the amplitude modulated Signal. Thus, a Sum is
Split Signals and recombining the Signals. One of the Signals            formed in the receiver of the amplitude contributions of the
may be frequency, phase or amplitude modulated.                     65   two signals.
   The Patent U.S. Pat. No. 5,078,464 shows an optical logic                In particular, for example, for an optical fibre of Single
device, in which digital logical functions are realized by               mode fibre type, the two modes used may be two orthogonal
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                              3                                                                       4
polarization modes, provided that the fibre used has a Small           embodiment comprises a laser 1, which emits a light beam
enough polarization mode dispersion. Moreover, for this                having a fixed frequency and amplitude. This beam is split
Special case of the method the receiver becomes extremely              into two parallel beams in a beam splitter 23. From the beam
Simple, Since the detector used can be a detector, which               Splitter 23 the two beams are guided to an amplitude
reacts for intensity but which is insensitive for polarization         modulator 3 and a phase modulator 5, respectively.
and phase modulation. This type of receiver is the Standard               The two modulators 3 and 5 are modulated in parallel with
receiver, which today is used for intensity modulated Sig              an electrical Signal, which is present on a line 7, carrying the
nals.                                                                  information Signal, and which is to be transmitted. This
   It is understood that also the reverse type of predistortion        signal on the line 7 is split at 17 and transmitted to the
is possible. That is, predistortion of a phase modulated Signal        amplitude modulator 3 and the phase modulator 5, on the
with an amplitude modulated predistortion, resulting in that           lines 19 and 21, respectively. The output signal from the
the received signal is formed by the phase modulated                   amplitude modulator 3 passes via a polarization preserving
contributions of the, in the two different modes, transmitted          optical fibre 9 to one side of a polarization beam splitter 11,
Signals.                                                               which here acts as a beam collector. The polarized output
   A transmission System based on this method should,             15   Signal from the phase modulator 5 is transmitted to the
according to performed computer Simulations, be able to                polarization beam Splitter 11 in Such a manner that the Signal
reach a performance of around 125 kilometers at STM-64                 in the polarization beam splitter 11 obtains a polarization
level, i.e. about 10 Gbit/s, which is slightly over 50% longer         which is orthogonal to the incoming output Signal from the
than what can be obtained according to the State of the art.           amplitude modulator 3. This can be achieved by means of
   Hence, generally a signal is transmitted in a dispersive            Some optically rotating element but Simpler by transmitting
medium, Such as an fibre optic line or a wave guide for micro          the output signal through the polarization preserving optical
waves, in particular a cavity wave guide, at the same time             fibre 13 to the other side of the polarization beam splitter 11
and in parallel in two orthogonal modes, where the Signal in           and rotating this fibre in a Suitable manner.
one mode is essentially amplitude modulated and the Signal               The embodiment shown in FIG. 1 is assembled from a
in the other mode is essentially phase modulated. This is the          number of commercially available discrete components.
case if the angle between the modulation side band of the         25
                                                                       However it should be perfectly possible to entirely or partly
essentially amplitude modulated Signal and the modulation
Side band of the essentially phase modulated Signal is                 build a similar transmitter in an integrated form, which in
essentially equal to 90.                                               many cases should be an advantage. Such a realization
   In order for the transmitted Signal to be safely decoded,           should for instance be possible to perform in LiNbO or InP.
the essentially phase modulated Signal shall advantageously               Thus, the Signal, which leaves the polarization beam
be transmitted on the fibre optical line or on the wave guide          Splitter 11, consists of two SubSignals which are orthogo
for micro waves less than one tenth of a bit interval before           nally polarized in relation to each other and thus will
or after the corresponding essentially amplitude modulated             propagate in two orthogonally modes in relation to each
Signal.                                                                other in an optical single mode fibre 15, which forms a link
   A transmitter intended for Such transmission comprises an      35   between a transmitter and a receiver. However, in practice,
amplitude modulator and a phase modulator, which are                   it turns out that entirely amplitude modulated modulators,
connected to receive a carrier wave from a Suitable                    which has been assumed above, can be difficult to obtain.
generator, Such as a light Source, typically a laser, or an            Normally, Such modulators impose a Small phase modulated
oscillation circuit for micro waves. The modulators both               contribution to the Signal. In order to compensate for this
receive the Signal, which is to be transmitted, as modulation     40   fact, the phase modulator can be designed, So that an
Signal and at the same time modulate the carrier wave with             amplitude contribution corresponding to the phase modula
this, So that at the Same time from the transmitter to a               tion contribution of the amplitude modulated Signal is
transmission line is transmitted an essentially amplitude              obtained.
modulated Signal and an essentially phase modulated Signal.
Thus, the amplitude modulator and phase modulator are                     This is illustrated in the FIGS. 3a and 3b, which are phase
advantageously connected, So that the phase difference            45   vector diagrams. In FIG.3a the amplitude modulated carrier
between the modulation side bands of the transmitted essen             wave at 31 is shown and in FIG. 3b the phase modulated
tially amplitude modulated and phase modulated Signals                 carrier wave at 33 is shown. The side band of the amplitude
respectively, is essentially equal to 90.                              modulated signal is shown at 37 and the side band of the
   A receiver, which is designed for an intensity modulated            phase modulated signal is shown at 39. The phase of the two
System, can be used in the transmission.                          50   carrier waves, which originate from the Same Source, will
                                                                       then have the Same angular frequency. In the case when the
            DESCRIPTION OF THE DRAWINGS                                angle a, shown at 41, i.e. the angle between the carrier wave
  The invention will now be described as a non-limiting                and the modulation side bands, is equal to 0, a pure
embodiment with reference to the accompanying drawings,                amplitude modulation will be obtained. If on the other hand
in which:                                                         55   this angle is 90, a pure phase modulation will be obtained.
   FIG. 1 is a block diagram, which shows a transmitter for            The latter is the case at 43, where the angle b is 90°. If now,
transmission on an optical fibre link,                                 due to imperfections in the modulation, the angle a, at 41, is
   FIG. 2 a schematic illustration of the two dominating               not exactly 0 but Somewhat larger or Smaller, e.g. equal to
orthogonal polarization modes in a quadratic cavity wave               c., where c i a Small number, this can be compensated by
guide,                                                            60   means of also letting the phase modulated Signal be impaired
   FIGS. 3a and 3b are phase vector diagrams, which show               by the same error, i.e. c, as the amplitude modulated signal
amplitude modulation and phase modulation, respectively.               so that a different angle (b-a) still is essentially 90°.
                                                                       However, a Small error in this difference angle should not
          DESCRIPTION OF A PREFERRED                                   Significantly reduce the performance, but an optimum is
                     EMBODIMENT                            65          obtained, when this difference angle is 90.
  In FIG. 1 a transmitter which is intended to be used for                The receiver 25 in this example comprises a Standard
transmitting Signals is shown. The transmitter in this                 receiver for an intensity modulated direct detecting System,
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                               S                                                                       6
which uses the Sum of the amplitude modulated and phase                    3. The method of claim 2, wherein the signal is transmit
modulated Signals respectively as input signal. In order for            ted on a cavity wave guide.
this to work to Satisfactory it is required that the Signals               4. A method according to claim 1, wherein the essentially
transmitted in the respective orthogonal modes do not arrive            phase modulated Signal is transmitted on a fibre optic line or
essentially Separated in time.                                          a wave guide for micro waves, less than one tenth of a bit
   This puts requirements on the Signal paths over which the            interval before or after the corresponding essentially ampli
Signals propagate. In this aspect the common Single mode                tude modulated Signal.
fibre 15 used by the essentially amplitude modulated signal                5. A method according to claim 1, wherein the ratio
and by the essentially phase modulated Signal, respectively,            between the modulation indexes of the essentially amplitude
does not provide any problem, Since the respective orthogo              modulated Signal and the essentially phase modulated Signal
nal Signals propagate with the same Velocity through this               is in the interval 0.4-1.0.
fibre. However, requirements arise on the electro-optical                 6. The method of claim 5, wherein the ratio between the
paths from the point where the electrical Signal is split at 17         modulation indexes of the essentially amplitude modulated
until they are merged together in the polarization beam                 Signal and the essentially phase modulated Signal is essen
splitter 11 and thereinbetween have travelled the different        15   tially equal to 0.8.
paths 17-19-3-9-11 and 17-21-5-13-11, respectively.                        7. A method according to claim 1, wherein the angle
   Moreover, requirements arise on the optical paths from               between the modulation side band of the essentially ampli
the splitting of the laser beam at 23 until these pass over onto        tude modulated Signal and the modulation Side band of the
                                                                        essentially phase modulated Signal is essentially equal to
one and the same line again at the polarization beam splitter           90°.
11, i.e. the optical ways 23-3-9-11 and 25-5-13-11, respec                 8. A method for transmission of a signal modulated on a
tively. Thus, the total difference in Signal path must not              carrier wave in a dispersive medium, in which the Signal is
provide a difference between the amplitude and phase modu               transmitted in parallel in two orthogonal modes, wherein
lated Signals transmitted in the Single mode fibre, which is            modulation side bands of the two modes propagated Signals
essentially larger than the magnitude of one tenth of a bit        25   area phase displaced in relation to each other with an angle
interval.
                                                                        which essentially is equal to 90.
   If the major part of the transmitter is manufactured in an              9. A method according to claim 8, wherein the Signal is
integrated form, these requirements will not be hard to fulfil.         transmitted on one of a fiber optic line and a wave guide for
However, if the transmitter is manufactured as an assembly              micro waves.
of a number of discrete components, Such as in the example                10. The method of claim 9, wherein the signal is trans
above, some form of adjustable delay elements will prob                 mitted on a cavity wave guide.
ably be needed to be incorporated, at least in the electro                 11. A method according to claim 8, wherein the Signal in
optical Signal path, in order to adjust the transmitter.                one mode is transmitted on a transmission line at a point less
However, this does not provide any difficulties since such              than one tenth of a bit interval of the signal which is to be
adjustable electrical delay components are commercially            35   transmitted before or after the Signal in the other mode.
available.                                                                12. The method of claim 11, wherein the transmission line
  Furthermore, it has been shown in performed computer                  includes one of a fiber optic line and a wave guide for micro
simulations that the ratio between the two modulation                   WWCS.
indexes of the different Subsignals, i.e. the modulation indeX             13. A transmitter for a signal modulated on a carrier wave,
for the phase modulated Signal/the modulation indeX for the        40   which is to be transmitted in two orthogonal modes, and
amplitude modulation Signal, approximately preferably                   comprising at least two modulators, the transmitter com
should be 0.8. However, these performed computer simula                 prising:
tions also show that this ratio is relatively insensitive in the           an amplitude modulator and a phase modulator connected
interval 0.4-1.0.                                                            to receive the carrier wave and to receive the Signal So
   The above described transmission method can also have           45        that an essentially amplitude modulated Signal in a first
an application in micro wave Systems. In Such Systems the                    mode and an essentially phase modulated Signal in a
TE and TE modes in a quadratic cavity wave guide the                           Second mode are transmitted from the transmitter at the
can form the orthogonal modes in which the two SubSignals                     Same time in two orthogonal modes.
propagate. These modes are illustrated in FIG. 2. However,                 14. A transmitter according to claim 13, for transmitting
for these Systems the receiver does not become equally             50   a signal on an optical fibre, further comprising:
Simple as for an optical System. This is due to the fact that              a light Source, the emitted light of which constitutes the
a receiver for micro waves in general are Sensitive for                       carrier wave and is guided to optical modulators com
polarization. Therefore, in a large number of cases, it will be               prising an amplitude modulator and a phase modulator,
necessary to construct Such a receiver as two alike receivers                 which are arranged to receive the Signal, which is to be
arranged to receive the Signal magnitudes in the different         55         transmitted, as modulation signal.
respective polarization modes in order to thereafter in a                  15. A transmitter according to claim 13, wherein the
Suitable manner add these signal magnitudes and use the                 amplitude modulator and phase modulator are connected, So
obtained Sum as output Signal.                                          that the phase difference between the modulation side bands
  What is claimed is:                                                   of the essentially amplitude modulated and phase modulated
   1. A method for transmission of a Signal in a dispersive        60   Signals respectively, transmitted from the transmitter, essen
medium, in which the Signal is transmitted in parallel in two           tially is equal to 90.
orthogonal modes, wherein the Signal in one mode is essen                  16. A transmitter according to claim 13, wherein the light
tially amplitude modulated and the Signal in the other mode             Source comprises a laser which provides a carrier wave to
is essentially phase modulated.                                         the two modulators.
   2. A method according to claim 1, wherein the Signal is         65      17. A transmitter according to claim 13, wherein the
transmitted on one of a fibre optical line and a wave guide             transmitter is arranged to modulate the essentially amplitude
for micro waves.                                                        modulated Signal and the essentially phase modulated
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                             7                                                                     8
Signal, So that the ratio between the modulation indexes                 25. A device for transmission of a signal modulated on a
thereof is in the interval 0.4-1.0.                                   carrier wave comprising:
  18. The transmitter of claim 17, wherein the transmitter is
arranged to modulate the essentially amplitude modulated                 a generator for a carrier wave and a modulator connected
Signal and the essentially phase modulated Signal, So that the              to receive the Signal;
ratio between the modulation indexes thereof is essentially              a transmission line connected to receive an output Signal
equal to 0.8.                                                              from the modulator; and
   19. A transmitter according to claim 13, wherein the                 a receiver connected to the transmission line for detection
transmitter is arranged to transmit the essentially amplitude
modulated Signal less than one tenth of a bit interval of the             of the Signal transmitted on the transmission line,
                                                                 1O
Signal, which is to be transmitted, before or after the                 wherein the modulator includes an amplitude modulator
essentially phase modulated Signal is transmitted.                        and a phase modulator, which both are connected to the
   20. A transmitter for transmitting a modulated Signal,                 generator in order to receive the carrier wave, which
comprising: at least two modulators, wherein the transmitter              both are connected to receive the Signal, which is to be
is arranged to transmit two parallel Signals, the modulation              transmitted, as modulation Signal, and which both are
side bands of which are displaced essentially 90 in relation     15
                                                                           connected to the transmission line, So that at the same
to each other.
   21. A transmitter according to claim 10, characterized in               time to the transmission line an essentially amplitude
that the light Source comprises a laser which provides a                   modulated and an essentially phase modulated Signal is
carrier wave to the two modulators.                                        transmitted.
   22. A transmitter according to claim 20, characterized in             26. A device for transmission of a signal modulated on a
that the transmitter is arranged to modulate an essentially           carrier wave comprising:
amplitude modulated Signal and an essentially phase modu                 a generator for a carrier wave and a modulator connected
lated Signal, So that the ratio between modulation indexes                  to receive the Signal;
thereof is in the interval 0.4-1.0.
  23. The transmitter of claim 22, wherein the transmitter is    25
                                                                         a transmission line connected to receive an output Signal
arranged to modulate the essentially amplitude modulated                   from the modulator; and
Signal and the essentially phase modulated Signal, So that the          a receiver connected to the transmission line for detection
ratio between the modulation indexes thereof is essentially               of the Signal transmitted on the transmission line,
equal to 0.8.                                                             wherein the modulator is arranged to transmit two
   24. A transmitter according to claim 20, intended to                   output Signals to the transmission line, which both are
transmit the Signal on an optical fibre, characterized in that
a light Source, the emitted light of which constitutes the                modulated with the Signal, which is to be transmitted,
carrier wave and is guided to optical modulators comprising               and the modulation Side bands of which are essentially
an amplitude modulator and a phase modulator, which                        displaced in relation to each other by 90.
receives the Signal, which is to be transmitted, as modulation
Signal.
